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 5
     Attorney for Defendant
     JOSEPH ANDRADE
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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 8

     UNITED STATES OF AMERICA,                        )       No. CR-S-11-454-GEB
 9
                                                      )
                                                      )
10           Plaintiff,                               )       STIPULATION REGARDING
                                                      )       EXCLUDABLE TIME PERIODS
11
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       [PROPOSED] FINDINGS AND ORDER
12
     JOSEPH ANDRADE,                                  )
                                                      )
13
                                                      )       Date: September 27, 2013
                                                      )       Time: 9:00 a.m.
14
             Defendant.                               )       Judge: Honorable Garland E. Burrell, Jr.
                                                      )
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                                                      )
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17
             The United States of America through its undersigned counsel, Jill Thomas, Assistant
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19   United States Attorney, together with counsel for defendant Joseph Andrade, John R. Manning,

20   Esq., hereby stipulate the following:
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          1. By previous order, this matter was set for trial confirmation hearing on September 6,
22
     2013 (jury trial September 24, 2013).
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          2. By this stipulation, the parties now move to continue the trial confirmation hearing to

25   September 27, 2013, for a change of plea and to exclude time between September 6, 2013 and
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     September 27, 2013 under the Local CodeT-4 (to allow defense counsel time to prepare). The
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                                                          1
     parties further request the jury trial date of September 24, 2013 be vacated in light of the
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 2   requested change of plea hearing.

 3      3. The parties agree and stipulate, and request the Court find the following:
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            a. Counsel for the defendant needs additional time to review the discovery and conduct
 5
                investigation.
 6

 7
            b. Currently the discovery in this case includes 2,962 pages, 14 video DVDs, and 1

 8              audio CD.
 9          c. Counsel for Mr. Andrade and the Government are actively discussing resolution and
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                the specific language of the plea agreement. A proposed plea agreement is being
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                crafted by the Government in response to the ongoing negotiations between the
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13              parties. Counsel for Mr. Andrade needs additional time to review the agreement with

14              Mr. Andrade and discuss the terms and consequences of the plea agreement.
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            d. Counsel for the defendant believe the failure to grant a continuance in this case would
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                deny defense counsel reasonable time necessary for effective preparation, taking into
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                account the exercise of due diligence.
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19          e. The Government does not object to the continuance.

20          f. Based on the above-stated findings, the ends of justice served by granting the
21
                requested continuance outweigh the best interests of the public and the defendant in a
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                speedy trial within the original date prescribed by the Speedy Trial Act.
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            g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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25              Section 3161(h)(7)(A) within which trial must commence, the time period of

26              September 6, 2013 to September 27, 2013, inclusive, is deemed excludable pursuant
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                to 18 United States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to
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                                                       2
                Local Code T-4 because it results from a continuance granted by the Court at
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 2              defendant’s request on the basis of the Court’s finding that the ends of justice served

 3              by taking such action outweigh the best interest of the public and the defendant in a
 4
                speedy trial.
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        4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
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     Speedy Trial Act dictate that additional time periods are excludable from the period within which

 8   a trial must commence.
 9      IT IS SO STIPULATED.
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11
     Dated: September 3, 2013                                     /s/ John R. Manning
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                                                                  JOHN R. MANNING
13                                                                Attorney for Defendant
                                                                  Joseph Andrade
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15
     Dated: September 3, 2013                                     Benjamin B. Wagner
16                                                                United States Attorney

17                                                        by:     /s/ Jill Thomas
                                                                  JILL THOMAS
18
                                                                  Assistant U.S. Attorney
19                                               ORDER
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            IT IS SO FOUND AND ORDERED.
     Dated: September 4, 2013
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